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                        IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                     (Charlotte Division)

In re:                                       )        Chapter 11
                                             )
B GSE GROUP, LLC,                            )        Case No. 23-30013
                                             )
                             Debtor.         )

                                NOTICE OF SERVICE OF SUBPOENA

         PLEASE TAKE NOTICE that B GSE Group, LLC is serving a subpoena duces tecum

upon Burns & McDonnell Engineering Company, Inc. A copy of the referenced subpoena is

attached hereto as Exhibit 1.

Dated: Charlotte, North Carolina
       February 8, 2023

                                           MOON WRIGHT & HOUSTON, PLLC

                                                  /s/ Richard S. Wright
                                           Richard S. Wright (Bar No. 24622)
                                           212 North McDowell Street, Suite 200
                                           Charlotte, North Carolina 28204
                                           Telephone: (704) 944-6560
                                           Facsimile: (704) 944-0380
                                           Counsel for the Debtor




MWH: 10782.001; 00028204.1
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                                      CERTIFICATE OF SERVICE

         I hereby certify that the foregoing NOTICE OF SERVICE OF SUBPOENA was served

by electronic notification on those parties registered with the United States Bankruptcy Court,

Western District of North Carolina ECF system to receive notices for this case and via United

States mail, sufficient postage prepaid, on those parties listed below at their addresses as shown.

         Prime Mechanical of Wisconsin LLC
         Attn: Dawn Ballweg, Registered Agent
         429 Sanderson Street
         Poynette, WI 53955-9581

         Claire Ann Richman
         Steinhilber Swanson LLP
         122 W. Washington Avenue, Suite 850
         Madison, WI 53703-2732

Dated: Charlotte, North Carolina
       February 8, 2023

                                          MOON WRIGHT & HOUSTON, PLLC

                                                 /s/ Richard S. Wright
                                          Richard S. Wright (Bar No. 24622)
                                          212 North McDowell Street, Suite 200
                                          Charlotte, North Carolina 28204
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                                          Counsel for the Debtor




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